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     EXHIBIT 1
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                                                     PageID 2398

Katie Van Dyck

From:                Kaiser, Steven J. <skaiser@cgsh.com>
Sent:                Friday, October 1, 2021 6:30 PM
To:                  Mark R. Suter; Varsity Litigation; Robert Falanga; Kobelah Bennah; Joseph Saveri; Ronnie Spiegel;
                     Kevin Rayhill; Elissa A. Buchanan; Anna-Patrice Harris; Sofia Jordan; Gurjit Aulkh; Sean Cooper; Dan
                     Nordin; dhedlund@gustafsongluek.com; Daniel E. Gustafson; hartley@hartleyllp.com; Jason Lindner;
                     rick@paulllp.com; Van D. Turner; lwang@gustafsongluek.com; Garrison, Grady;
                     nberkowitz@bakerdonelson.com; Matthew S. Mulqueen; Gaffney, Brendan P.; Coggins, Paul
Subject:             RE: Varsity Antitrust Litigation - purported Elza and LeTard subpoenas


Mark,

I imagine since we haven’t heard anything further that there will be no Elza deposition next week and the LeTard
deposition remains unconfirmed. Please let us know if the situation is otherwise.

Defendants do not agree to you proposal regarding depositions. Judge Lipman specified coordination of discovery,
including depositions, and Defendants expect Plaintiffs to coordinate within the time allowed in the Federal Rules of Civil
Procedure and Fusion Elite Discovery Order, which as you know is no more than one day of seven hours per
witness. Defendants also have the right to question witnesses and time must be allocated for that as well.


—
Steven J. Kaiser
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From: Mark R. Suter <msuter@bm.net>
Sent: Wednesday, September 29, 2021 11:46 AM
To: Kaiser, Steven J. <skaiser@cgsh.com>; varsitylitigation@cuneolaw.com; Robert Falanga <Robert@FalangaLaw.com>;
Kobelah Bennah <Kobelah@FalangaLaw.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Ronnie Spiegel
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<ggarrison@bakerdonelson.com>; nberkowitz@bakerdonelson.com; Matthew S. Mulqueen
<mmulqueen@bakerdonelson.com>; Gaffney, Brendan P. <BGaffney@lockelord.com>; Coggins, Paul
<pcoggins@lockelord.com>
Subject: RE: Varsity Antitrust Litigation ‐ purported Elza and LeTard subpoenas

Steve,

The deposition dates for Elza and Letard are presently unconfirmed, but we will follow up with additional information
once available.

Further, Plaintiffs in all three cases have been coordinating on discovery, including deposition scheduling. Given that each
deposition will be for three distinct cases, involving certain non-overlapping alleged misconduct in different markets
                                                             1
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                                                     PageID 2399
against different defendants, additional deposition time will be needed to accommodate non-duplicative questions by
counsel in all three cases where necessary. To that end, counsel from the three cases have drafted the attached proposed
stipulation regarding deposition timing. Please let us know if Varsity and USASF would agree, and please also coordinate
with
Varsity’s co-defendants in the related cases to confirm whether this works.

Thanks,

Mark



Mark R. Suter / Associate
  215.875.3021       201.647.6525




   1818 MARKET STREET, SUITE 3600
   PHILADELPHIA, PA 19103

From: Kaiser, Steven J. <skaiser@cgsh.com>
Sent: Monday, September 27, 2021 5:01 PM
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<rspiegel@saverilawfirm.com>; Kevin Rayhill <krayhill@saverilawfirm.com>; Elissa A. Buchanan
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Nordin <dnordin@gustafsongluek.com>; dhedlund@gustafsongluek.com; Daniel E. Gustafson
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<ggarrison@bakerdonelson.com>; nberkowitz@bakerdonelson.com; Matthew S. Mulqueen
<mmulqueen@bakerdonelson.com>; Gaffney, Brendan P. <BGaffney@lockelord.com>; Coggins, Paul
<pcoggins@lockelord.com>
Subject: Varsity Antitrust Litigation ‐ purported Elza and LeTard subpoenas

Counsel:

We are in receipt of subpoenas that purport to be directed to Brian Elza and Tres LeTard in the Fusion Elite and
American Spirit cases. The subpoenas did not include proofs of service.

Will counsel for Fusion Elite and American Spirit confirm whether they have served the subpoenas on their targets and,
if so, provide the evidence of service? Also, will counsel for Fusion Elite and American Spirit confirm whether Mr. Elza or
Mr. LeTard have agreed to sit for deposition on the indicated dates?

In addition, we wanted to make it clear that in our view of the Court’s directions and coordination order, there will not
be more than one deposition of any individual in the three cases without leave of Court, and all parties, including
Plaintiffs, should govern themselves accordingly. In other words and for the avoidance of doubt, any deposition of Mr.
Elza or Mr. LeTard that may occur as a result of these subpoenas or otherwise will be the deposition for the Jones matter
as well. The parties in Jones will not be afforded another opportunity to depose Mr. Elza or Mr. LeTard or any other
individual who is deposed in the Fusion Elite or American Spirit matters. The parties in Fusion Elite will likewise not be
afforded another opportunity to depose an individual noticed for deposition in the Jones or American Spirit


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matters. The parties in American Spirit will likewise not be afforded another opportunity to depose an individual
noticed for deposition in the Fusion Elite or American Spirit matters.

If and when Mr. Elza or Mr. LeTard are deposed, all parties, including Plaintiffs in Jones, will need to discuss an
appropriate allocation of time.

We trust this is consistent with everyone’s understanding and expectations, but if not, please let us know. Thank you.

Best regards,


—
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